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 8                               UNITED STATES DISTRICT COURT
 9                           NORTHERN DISTRICT OF CALIFORNIA
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11   IN RE: MCKINSEY & CO., INC.              Case No. 3:21-md-02996-CRB (SK)
12   NATIONAL PRESCRIPTION OPIATE
     CONSULTANT LITIGATION                    DECLARATION OF ERIC J. MILLER
13                                            REGARDING DISSEMINATION OF
     This Document Relates to:                NOTICE
14
     ALL THIRD PARTY PAYOR ACTIONS
15                                            Judge: The Honorable Charles R. Breyer
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                                                         DECLARATION OF ERIC J. MILLER REGARDING
                                                                        DISSEMINATION OF NOTICE
                                                                   CASE NO. 3:21-MD-02996-CRB (SK)
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 1          I, Eric J. Miller, declare as follows:

 2          1.      I am the Senior Vice President of A.B. Data, Ltd.’s Class Action Administration

 3   Company (“A.B. Data”), whose corporate office is located in Milwaukee, Wisconsin. My business

 4   address is 5080 PGA Boulevard, Suite 209, Palm Beach Gardens, FL 33418, and my telephone

 5   number is 561-336-1801.

 6          2.      I submit this Declaration in connection with the above-referenced action (the

 7   “Action”). This Declaration is based upon my personal knowledge and upon information provided

 8   by my associates and staff members. I have personal knowledge of the facts set forth herein and,

 9   if called as a witness, could and would testify competently thereto.

10          3.      Pursuant to the Court’s Order Granting Preliminary Approval of Third Party Payor

11   Class Action Settlement and Direction of Notice Under Federal Rule of Civil Procedure 23(e) (the

12   “Preliminary Approval Order”), A.B. Data implemented the notice program approved by the Court.

13   This Declaration details the steps taken by A.B. Data, which consisted of the following: a) direct

14   mail to potential third-party payor (“TPP”) Class Members using A.B. Data’s proprietary database

15   (the “TPP Database”); b) a digital advertising campaign; c) a news release disseminated over PR

16   Newswire; and d) a toll-free telephone number and Settlement Website to address potential TPP

17   Class Member inquiries.

18                                 DIRECT MAIL NOTICE TO TPPS

19          4.      On April 15, 2024, A.B. Data mailed the postcard notice (the “Postcard Notice”) via

20   USPS First-Class Mail to 42,539 entities in A.B. Data’s TPP Database. These entities include

21   insurance companies, health maintenance organizations, self-insured entities, pharmacy benefits

22   managers (“PBMs”), third-party administrators (“TPAs”), and other entities that represent potential

23   TPP Class Members. A copy of the Postcard Notice is attached hereto as Exhibit A.

24          5.      In addition, A.B. Data sent 1,553 emails to TPPs and their representatives where

25   email addresses were available.

26                                            MEDIA NOTICE

27          6.      Beginning on April 15, 2024, A.B. Data caused digital banner ads to appear on

28   ThinkAdvisor.com/life-health, BenefitNews.com, and SHRM.org, which are websites that reach
                                                                   DECLARATION OF ERIC J. MILLER REGARDING
                                                     -1-                          DISSEMINATION OF NOTICE
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 1   insurance agents/brokers and related TPP professionals. A sampling of the digital banner ads is

 2   attached hereto as Exhibit B.

 3          7.      On April 15, 2024, A.B. Data caused the notice formatted as a news release to be

 4   disseminated via PR Newswire. This news release was distributed via PR Newswire to the news

 5   desks of approximately 10,000 newsrooms across the United States, including those in general-

 6   market print, broadcast, and digital media. A true and correct copy of the press release is attached

 7   hereto as Exhibit C.

 8                                      SETTLEMENT WEBSITE

 9          8.      A.B. Data established the settlement website, McKinseyTPPSettlement.com, to

10   assist potential TPP Class Members. It includes general information regarding this Action, and the

11   proposed Settlement, including the exclusion, objection and claim filing deadlines, and the date,

12   time, and location of the Court’s Final Approval Hearing. A copy of the Notice of Class Action

13   (attached as Exhibit D), the Third-Party Payor Claim Form (attached as Exhibit E), the Complaint,

14   Settlement Agreement, Preliminary Approval Order, and other relevant documents are posted on

15   the website and are available for downloading. In addition, the website provides TPP Class

16   Members with the ability to submit their Claim Form through the website. The website is accessible

17   24 hours a day, 7 days a week.

18          9.      A.B.       Data      established         a   case-specific      toll-free      number,

19   1-877-933-3322, with an interactive voice response system and live operators, to accommodate

20   potential TPP Class Members with questions about the Action. The automated attendant answers

21   the calls and presents callers with a series of choices to respond to basic questions. If callers need

22   further help, they have the option of being transferred to a live operator during business hours. A.B.

23   Data continues to maintain the telephone helpline and will update the interactive voice response

24   system as necessary through the administration of the Settlement.

25                REPORT ON OBJECTIONS AND REQUESTS FOR EXCLUSION

26          10.      The Notice informed TPP Class Members that any objections to the Settlement or

27   requests for exclusion are to be submitted on or before June 1, 2024. As of the date of this

28   Declaration, A.B. Data has not received or been made aware of any objections or requests for
                                                                    DECLARATION OF ERIC J. MILLER REGARDING
                                                       -2-                         DISSEMINATION OF NOTICE
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 1   exclusion. A.B. Data will provide an updated report following the objection and request for

 2   exclusion deadlines to notify the Court of receipt of any objections or requests for exclusion.

 3                             CLAIM FILING DEADLINE EXTENSION

 4          11.     At Class Counsel's instruction, A.B. Data extended the claim filing deadline from

 5   September 18, 2024 to December 15, 2024. On April 19, 2024, A.B. Data updated the Settlement

 6   Website and all documents to reflect the extension to the claim filing deadline. The as-mailed

 7   Postcard Notice attached to this Declaration contains the original claim filing date The news

 8   release, Long-Form Notice, and Claim Form attached to this Declaration reflect the updated claim

 9   filing date of December 15, 2024.

10

11   I declare under penalty of perjury that the foregoing is true and correct.

12   Executed this 22nd day of April 2024.

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15                                                 Eric J. Miller

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                                                                    DECLARATION OF ERIC J. MILLER REGARDING
                                                      -3-                          DISSEMINATION OF NOTICE
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                        LEGAL NOTICE                       McKinsey National Prescription Opiate Consultant Settlement
                                                           c/o A.B. Data, Ltd.
                                                           P.O. Box 173122
     Third-Party Payors: If you paid or                    Milwaukee, WI 53217
reimbursed costs for prescription opioids, or
 paid or incurred costs for treatment related
to opioid misuse, addiction, and/or overdose,
                                                           Postmaster: Please DO NOT Cover Up Barcode
   You Could Get Money from a Settlement.
Your rights may be affected by the proposed Settlement
in a class action lawsuit with McKinsey & Company,
Inc. (“McKinsey”). The lawsuit claims McKinsey
played a central role in the opioid crisis by advising
multiple opioid manufacturers and other industry
participants on how to sell as many prescription opioids
as possible. McKinsey denies any wrongdoing.




54794-McKinsey-EM-PST
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Am I included? Generally, you may be included if you are an entity that paid and/or reimbursed for (a) opioid prescription drugs
manufactured, marketed, sold, or distributed by the Opioid Marketing Enterprise Members (Purdue, Johnson & Johnson, Janssen,
Cephalon, Endo, and Mallinckrodt), for purposes other than resale, and/or (b) paid or incurred costs for treatment related to the
misuse, addiction, and/or overdose of opioid drugs, on behalf of individual beneficiaries, insureds, and/or members, during the period
June 1, 2009 to October 31, 2023. For clarity, included are: (a) private contractors of Federal Health Employee Benefits plans, (b)
plans for self-insured local governmental entities that have not settled claims in MDL 2804, (c) managed Medicaid plans, (d) plans
operating under Medicare Part C and/or D, and (e) Taft Hartley plans. A more detailed notice, including the full class definition and
who is not included, is available at www.McKinseyTPPSettlement.com.

What does the Settlement provide? A $78 million Settlement Fund will pay money to eligible Class Members, notice and
administration costs up to $1 million, and attorneys’ fees, costs, and expenses.

How can I get a payment? Submit a claim form online or by mail postmarked by September 18, 2024. If your claim is valid, you
will get money from the Settlement. The amount of your payment will be calculated based on the Proposed Plan of Allocation
available at www.McKinseyTPPSettlement.com. Detailed instructions about how to submit a claim are also available at
www.McKinseyTPPSettlement.com.

What are my rights? Even if you do nothing, you will be bound by the Court’s decisions. If you want to keep your right to sue
McKinsey yourself, you must exclude yourself from the Settlement by June 1, 2024. If you do not exclude yourself, you may object
to the Settlement by June 1, 2024. The Court will hold a hearing on July 26, 2024 at 10:00 a.m. to consider whether to approve the
Settlement and a request for attorneys’ fees not to exceed 20% of the Settlement Fund, plus litigation expenses and service awards to
Class Representatives. You or your own lawyer may appear and speak at the hearing at your own expense. The Court may change
these deadlines or the hearing date (and time). Check the website below for updates.
                           For more information: 1-877-933-3322 or visit www.McKinseyTPPSettlement.com
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             EXHIBIT D
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UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA

                        NOTICE OF CLASS ACTION SETTLEMENT

              If you are a Third-Party Payor that paid or reimbursed costs for
           prescription opioids, or paid or incurred costs for treatment related to
            opioid misuse, addiction, and/or overdose, a class action lawsuit may
                                      affect your rights.

                This Notice is being provided by Order of the U.S. District Court.
                  It is not a solicitation from a lawyer. You are not being sued.

A lawsuit is pending in the United States District Court for the Northern District of California (“the
Court”) against McKinsey & Company, Inc. Third-Party Payor Plaintiffs claim that McKinsey
played a central role in the opioid crisis by advising multiple opioid manufacturers and other
industry participants how to sell as many prescription opioids as possible. McKinsey denies any
wrongdoing.
A settlement has been reached with McKinsey. The settlement for Third-Party Payors (“TPPs”)
provides for a cash payment of $78,000,000 (the “Settlement”). It is subject to Court approval.
Your legal rights and options are explained below.
Plaintiffs will ask the Court to certify for settlement the following TPP Class:

      All entities that paid and/or reimbursed for (a) opioid prescription drugs manufactured,
      marketed, sold, or distributed by the Opioid Marketing Enterprise Members (Purdue,
      Johnson & Johnson, Janssen, Cephalon, Endo, and Mallinckrodt), for purposes other
      than resale, and/or (b) paid or incurred costs for treatment related to the misuse,
      addiction, and/or overdose of opioid drugs, on behalf of individual beneficiaries,
      insureds, and/or members, during the period June 1, 2009 to October 31, 2023 (“Class
      Period”). For clarity, included in the class are: (a) private contractors of Federal Health
      Employee Benefits plans, (b) plans for self-insured local governmental entities that have
      not settled claims in MDL 2804, (c) managed Medicaid plans, (d) plans operating under
      Medicare Part C and/or D, and (e) Taft Hartley plans.

      Excluded from the class are (a) all federal and state governmental entities, (b) all tribal
      entities, (c) local governmental entities and school districts, (d) Pharmacy Benefit
      Managers (PBMs), (e) consumers, and (f) fully-insured plans. For the avoidance of
      doubt, entities that are otherwise members of the class are not excluded on the basis that
      they own an interest, including a controlling interest, in a PBM.




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              YOUR LEGAL RIGHTS AND OPTIONS IN THIS LAWSUIT

                                         If you are a member of the Class, and want to
                                         participate in the distribution of the Settlement Fund,
                                         you will need to complete and return a Claim Form.
                                         The Claim Form, and information on how to submit
CLAIM YOUR SHARE OF THE SETTLEMENT
                                         it, are available on the Settlement website. Claim
                                         Forms must be postmarked (if mailed) or received
                                         (if submitted online) on or before December 15,
                                         2024.


                                         This option allows you to exclude yourself from the
                                         TPP Class and instead file your own lawsuit against
EXCLUDE YOURSELF FROM THE TPP
                                         McKinsey that asserts claims related to the
CLASS
                                         allegations or claims in this case. The exclusion
                                         deadline is June 1, 2024.


                                         If you object to all or any part of the Settlement,
                                         request for attorneys’ fees, reimbursement of
                                         expenses, or service awards to the class
                                         representatives, or desire to speak in person at the
OBJECT TO THE SETTLEMENT OR SPEAK
                                         Final Approval Hearing, you must file a written
AT THE FINAL APPROVAL HEARING
                                         letter of objection and/or a notice of intention to
                                         speak, along with a summary statement, with the
                                         Court and the Notice and Claims Administrator by
                                         June 1, 2024. See Question 12.



                                         Do not claim any part of the Settlement Fund, but
                                         release your claims against McKinsey and give up
DO NOTHING                               rights to be part of any other lawsuit that asserts
                                         claims related to the allegations or claims against
                                         McKinsey in this case.


    THESE RIGHTS AND OPTIONS AND THE DEADLINES TO EXERCISE THEM ARE
                        EXPLAINED IN THIS NOTICE.

    PLEASE VISIT THE TPP CLASS SETTLEMENT WEBSITE ON AN ONGOING BASIS
        FOR IMPORTANT SETTLEMENT AND CLAIMS-RELATED UPDATES,
          INFORMATION, AND FILINGS: www.McKinseyTPPSettlement.com.




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                       BASIC INFORMATION ABOUT THE LAWSUIT

1.     Why did I get this Notice?
       You received this Notice because you requested it or records indicate that you may be a
       member of the TPP Class. On April 8, 2024, the Court granted preliminary approval to
       the Settlement and will decide at the final approval hearing whether to certify for
       settlement the TPP Class. McKinsey denies any wrongdoing. You are not being sued.
       This Notice describes the lawsuit and the rights and options you have.

2.     What is the lawsuit about?
       Plaintiffs claim that McKinsey played a central role in the opioid crisis by advising
       multiple opioid manufacturers and other industry participants how to sell as many
       prescription opioids as possible.

       Plaintiffs claim that McKinsey’s conduct caused substantial, direct, and proximate harms
       to Third-Party Payors. Because of the opioid crisis, TPPs claim they have wrongfully had
       to pay large costs for opioid prescriptions and opioid use disorder treatment.

       McKinsey denies these claims and denies that it did anything wrong. The litigation is
       proceeding, and, at this point, no court has found that McKinsey engaged in any
       wrongdoing.

3.     What is the current status of the lawsuit?
       The lawsuit is currently pending in the United States District Court for the Northern
       District of California before United States District Judge Charles R. Breyer. The case
       name and number are In re McKinsey & Co., Inc. National Prescription Opiate
       Consultant Litigation, No. 21-md-02996-CRB (N.D. Cal.). Third-Party Payor Plaintiffs
       have reached a Settlement Agreement with McKinsey, where it will pay $78,000,000 to
       class members.

              DETERMINING IF YOU ARE A MEMBER OF THE TPP CLASS

4.     I am a Third-Party Payor that has purchased or reimbursed costs of prescription
       opioids, or paid or reimbursed for opioid-caused addiction treatment; how do I
       know if I am a member of the TPP Class?
       As a Third-Party Payor, you may be a member of the TPP Class if you are included in
       the definitions below:

       Third-Party Payors generally include health insurance companies, third-party
       administrators, health maintenance organizations, health and welfare plans that make
       payments from their own funds, and other health benefit providers and entities with self-
       funded plans that contract with a health insurer or administrator to administer their
       prescription drug benefits.

       Third-Party Payors also generally include private entities that may provide prescription
       drug benefits for current or former public employees and/or public benefits programs,
       but only to the extent that such a private entity purchased or reimbursed costs of




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       prescription opioids or paid or reimbursed for opioid-caused addiction treatment for
       consumption by its members, employees, insureds, participants, or beneficiaries.

       If you are not sure whether you are included in the TPP Class, you may call, email, or
       write to the Notice and Claims Administrator or lawyers in this case at the telephone
       numbers, email addresses, or addresses listed in Questions 12-13 below. The full TPP
       Class definition can also be found in the Settlement Agreement posted on the website at
       www.McKinseyTPPSettlement.com.

5.     How do I make a claim for my share of the Settlement Fund?
       To make a claim for your share of the Settlement Fund, you must complete and submit a
       valid Claim Form to request your share of the Net Settlement Fund. You can obtain a
       Claim Form at www.McKinseyTPPSettlement.com or by calling 1-877-933-3322.
       Claim Forms must be received (if submitted online) or postmarked (if mailed) by
       December 15, 2024.

6.     When will I receive payment?
       In the event that Preliminary Approval is granted, all TPP Class Members will have the
       right to receive an Upfront Payment. The Upfront Payment Option Right can be exercised
       by providing written notice to the Notice and Claims Administrator within five (5) days
       of the expiration of the objection/opt-out deadline set by the Court. If at least 90% of
       TPP claimants (on the basis of the claims submitted and approved in the Mallinckrodt
       bankruptcy) elect this option, 70% of the Settlement ($54,600,000 or the “Upfront
       Funds”) shall be set aside for the Upfront Payment. To receive this Upfront Payment, the
       TPP Class Member must agree (a) to participate in the TPP Class and provide the release
       called for in the Settlement, and (b) that 7.5% of their recovery will be set aside into an
       escrow account which will be used to satisfy any common benefit fee awarded to
       Settlement Class Counsel. These Upfront Funds will be distributed on a pro rata basis
       (in line with the Mallinckrodt claims) pursuant to the terms of the Final Approval Order
       and Allocation Methodology. Any TPP Class Member who elects the Upfront Payment
       Option Right may also complete and submit a Class Claim Form by the deadline set by
       the Court. The ultimate recovery for a TPP Class Member that elects the Upfront
       Payment Option Right will be “trued-up” in accordance with the TPP Claims
       Methodology set forth in Sections C and D of the Class Claim Form and will account for
       the amount of any Upfront Payment.

       The Court must approve the Settlement, and any appeals of that decision must be
       resolved, before any money is distributed to TPP Class Members. The Notice and Claims
       Administrator must also complete processing of all Claim Forms and determine
       distribution amounts. This process can take several months.

                                      EXCLUSION PROCESS

7.     What does it mean to request to be excluded from the TPP Class?
       If you do not want to be part of the TPP Class, do not want to file a claim for Settlement
       funds, and want to keep your right to sue McKinsey relating to the allegations in In re
       McKinsey & Co., Inc. National Prescription Opiate Consultant Litigation, MDL No.




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       2996 (N.D. Cal.), concerning its opioid marketing advice, then you must take steps to
       remove yourself from the TPP Class. This is called excluding yourself, or “opting out”
       of the TPP Class. If you exclude yourself, you may not make a claim for payment from
       the Settlement described in this Notice and may pursue your own lawsuit.

8.     What is the Exclusion Process?
       Your decision to stay in, or exclude yourself from, the class is an individual one that must
       be made, signed, and submitted by you or your representative who is expressly authorized
       to do so.

       Third-Party Payors that want to be excluded from the TPP Class must submit a written
       request for exclusion to the Notice and Claims Administrator. Your request for exclusion
       must include: (i) the entity name, address, and IRS EIN; (ii) the name and title of the
       entity’s representative; (iii) the name of this case, In re McKinsey & Co., Inc. National
       Prescription Opiate Consultant Litigation, MDL No. 2996; and (iv) a statement, signed
       by an authorized representative, that you are a member of the TPP Class and wish to be
       excluded from the TPP Class. Exclusion requests must be mailed to the Notice and
       Claims Administrator at the address below and postmarked no later than June 1, 2024:

           In re McKinsey & Co., Inc. National Prescription Opiate Consultant Litigation
                                          EXCLUSIONS
                                        P.O. Box 173001
                                      Milwaukee, WI 53217

       A separate, signed exclusion request must be submitted by each Third-Party Payor
       choosing to be excluded from the Class. Any Third-Party Payor included in the Class that
       does not submit a valid request for exclusion providing all necessary information will be
       bound by the outcome of the case.

       If you are a Third-Party Payor and want to opt out the claims of others for whom you
       provide services (e.g., welfare funds or employers for whom you act as an Administrative
       Services Organization), you must include for each entity on whose behalf you want to
       opt out all of the information noted in items (i)–(iv) above: (i) the entity name, address,
       and IRS EIN; (ii) the name and title of the entity’s representative; (iii) the name of this
       case, In re McKinsey & Co., Inc. National Prescription Opiate Consultant Litigation,
       MDL No. 2996; and (iv) a statement, signed by an authorized representative, for each
       entity on whose behalf you want to opt out. In addition, for each such entity, you must
       provide a Declaration from an authorized representative of the entity, substantially in the
       form below and executed specifically in connection with this litigation, attesting to your
       authority to opt out the entity’s claims from the Class on the entity’s behalf. You must
       mail this information to the Notice and Claims Administrator at the address above and
       postmarked no later than June 1, 2024.




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 Date:

 Declarant:

 Title:

 Entity:

 Address:

 Telephone Number:

 Entity EIN:

 Dear Notice and Claims Administrator:

          I am [Name and Title of Officer or Employee of Entity Requesting Exclusion]. [Entity] has
 authorized [name of Entity] to request exclusion from the proposed McKinsey-TPP Settlement Class
 on [Entity’s] behalf in the case of In re McKinsey & Co., Inc. National Prescription Opiate Consultant
 Litigation, MDL No. 2996.

         [Entity] hereby acknowledges that, as a result of this authorization and opting out, [Entity] will
 not receive any proceeds resulting from this litigation, should any exist.

 I declare under penalty of perjury of the laws of the United States of America that the foregoing is true
 and correct and executed in                            ,                                        .
                                      [city]                             [state]

                              ________
 Name of Declarant Officer or Employee                          Date Signed

                                   ________
     Title of Declarant Officer or Employee



9.        What is the legal significance of excluding myself?
          If you exclude yourself, you will not be able to claim any of the Settlement Funds and
          will not be legally bound by the outcome of the case. You may be able to sue McKinsey
          in the future for the same conduct alleged in the lawsuit.

10.       If I don’t exclude myself, can I sue later?
          No. If you do not exclude yourself (that is, if you remain in the Class and are eligible to
          receive Settlement Funds), you give up the right to sue McKinsey for the claims in this
          case. You must exclude yourself from the TPP Class to be able to bring your own,
          separate lawsuit(s) against McKinsey. Remember, the exclusion deadline is
          June 1, 2024.




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                                         IF YOU DO NOTHING

11.       What happens if I do nothing at all?
          If you are a TPP Class Member and you do nothing, you will remain in the TPP Class
          and be bound by the decision in the action and on the Settlement; however, if the
          Settlement is approved, you may not participate in the Settlement as described in this
          Notice. To participate in the Settlement and be eligible to receive a payment, you must
          complete, sign, and return the Claim Form before the claims filing deadline provided on
          the Claim Form and Settlement website.

                                    OBJECTIONS OR COMMENTS

12.       How do I object to or comment on the Settlement?
          If you are a member of the TPP Class as defined above, and if you did not request to be
          excluded, you may object to any aspect of the Settlement, including the fairness of the
          Settlement, the Plan of Allocation, and/or Settlement Class Counsel’s requests for
          attorneys’ fees and costs.

          To object to the Settlement, you (or your lawyer if you have one) must submit a written
          objection to the Court and send the objection to the Notice and Claims Administrator at
          the addresses listed below. You must submit your objection on or before June 1, 2024.
          Your objection can include any supporting materials, papers, or briefs that you want the
          Court to consider.

          Your objection must include:

         Your full name, address, telephone number, and email address;
         The case name and number: In re McKinsey & Co., Inc. National Prescription Opiate
          Consultant Litigation, No. 21-md-02996-CRB (N.D. Cal.);
         Documentation demonstrating that you are a member of the Class and/or this statement,
          followed by your signature: “I declare under penalty of perjury under the laws of the
          United States of America that [insert your name] is a member of the Class.”;
         A clear statement that you are objecting to the Settlement;
         A written statement of all grounds for your objection, including any legal support for the
          objection, making sure to say whether your objection relates only to you, to part of the
          class, or to the entire class;
         Copies of any papers, briefs, or other documents on which your objection is based;

         The name, address, email address, and telephone number of every attorney representing
          you, if you are represented by an attorney; and

         A statement saying whether you and/or your attorney intend to appear at the Final
          Approval Hearing and, if so, a list of all persons, if any, who will be called to testify in
          support of the objection.



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        You must submit your objection to the Court and to the Notice and Claims Administrator
        by June 1, 2024.

          Clerk of Court                            Notice and Claims Administrator

          Office of the Clerk of Court               In re McKinsey & Co., Inc. National
          U.S. District Court for the Northern       Prescription Opiate Consultant Litigation
          District of California                     P.O. Box 173122
          450 Golden Gate Ave.                       Milwaukee, WI 53217
          San Francisco, CA 94102
                                                     info@McKinseyTPPSettlement.com

        A Final Approval Hearing will be held on July 26, 2024, at 10:00 a.m., subject to change
        by the Court. If you would like to attend the Final Approval Hearing, please monitor the
        Settlement website for information on how to attend and for information regarding any
        changes in time or date.

                             THE LAWYERS REPRESENTING YOU

13.     As a member of the TPP Class, do I have a lawyer representing my interests in this
        Class Action?
        Yes. The Court has appointed lawyers to represent you and other TPP Class Members.
        These lawyers are called Settlement Class Counsel. You will not be charged individually
        for these lawyers. They will ask the Court to approve an award for attorneys’ fees and
        expenses. The following lawyers represents the Class:
                                           Paul J. Geller
                               ROBBINS GELLER RUDMAN & DOWD LLP
                                 225 NE Mizner Boulevard, Suite 720
                                       Boca Raton, FL 33432
                                          (561) 750-3000

                                        Elizabeth J. Cabraser
                             LIEFF CABRASER HEIMANN & BERNSTEIN LLP
                                    275 Battery Street, Suite 2900
                                      San Francisco, CA 94111
                                           (415) 956-1000

                                          James R. Dugan, II
                                      DUGAN LAW FIRM, APLC
                                      One Canal Place, Suite 1000
                                           365 Canal Street
                                       New Orleans, LA 70130
                                            (504) 648-0180




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14.     How will the lawyers be compensated? Will the Settlement Class Representative
        Plaintiffs receive a service award?
        Settlement Class Counsel may seek up to 20% of the Settlement Fund for reimbursement
        of their fees, in addition to reimbursement of costs and service awards to Class
        Representatives. Any fees awarded to Settlement Class Counsel must be approved by the
        Court. Settlement Class Counsel will ask the Court to award each Settlement Class
        Representative Plaintiff a service award not to exceed $10,000. The application for
        attorneys’ fees will be posted on the Settlement website.

15.     May I appear through my own lawyer?
        You may appear through your own lawyer, pursuant to Federal Rule of Civil Procedure
        23(c)(2). Every lawyer appearing in this case is subject to the Orders of the Court, and
        you may be responsible for paying your lawyer’s fees. If you hire a lawyer to speak for
        you or appear in Court, your lawyer must file a Notice of Appearance.

                                GETTING MORE INFORMATION

16.     Where do I get more information?
        The Settlement documents, including the Settlement Agreement and Plan of Allocation;
        claims forms and related information; the Third-Party Payor Complaint; the Court’s
        Orders; and other important dates and deadlines are posted for your review on the
        Settlement website: www.McKinseyTPPSettlement.com. Please refer to the
        Settlement website for ongoing and updated information, or you can call the Notice
        and Claims Administrator toll-free at 1-877-933-3322.

        Complete copies of public pleadings, Court rulings, and other filings are also available
        for review and copying at the Clerk’s office. The address is Phillip Burton Federal
        Building and U.S. Courthouse, 450 Golden Gate Avenue, San Francisco, CA 94102.
        Judge Charles R. Breyer of the United States District Court for the Northern District of
        California is overseeing the Class Action. Please do not contact the Court or Judge
        Breyer.

        For more information, call the Notice and Claims Administrator at 1-877-933-3322
        or go to www.McKinseyTPPSettlement.com.


      DATED: APRIL 15, 2024                  BY ORDER OF THE UNITED STATES DISTRICT
                                             COURT NORTHERN DISTRICT OF CALIFORNIA




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              EXHIBIT E
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                                   United States District Court
                                  Northern District of California

                                                                Case No. 21-md-02996-CRB (SK)
IN RE: MCKINSEY & CO., INC. NATIONAL
PRESCRIPTION OPIATE CONSULTANT LITIGATION

                        INSTRUCTIONS FOR SUBMITTING YOUR CLAIM FORM

A Third-Party Payor (TPP) Class Member or an authorized agent for a TPP Class Member may complete this Claim Form.
If both a TPP Class Member and its authorized agent submit a Claim Form, the Notice and Claims Administrator will
review both and determine which is controlling, as well as the amount of the Claim, giving consideration to the extent to
which the claims overlap or supplement one another. The Notice and Claims Administrator may request supporting
documentation in addition to the documentation and information requested below. The Notice and Claims Administrator
may reject a claim if the TPP Class Member or its authorized agent does not provide all requested documentation
and information in a timely manner.

If you are a TPP Class Member submitting a Claim Form on your own behalf, you must provide the information requested
in “Section A – COMPANY OR HEALTH PLAN TPP CLASS MEMBER ONLY,” in addition to the other
information requested by this Claim Form.

If you are an authorized agent of one or more TPP Class Members, you must provide the information requested in
“Section B – AUTHORIZED AGENT ONLY,” in addition to the other information requested by this Claim Form.

If you are submitting a Claim Form only as an authorized agent of two or more TPP Class Members, you may submit a
separate Claim Form for each TPP Class Member OR you may submit a “Consolidated Claim” via one single
Claim Form for all such TPP Class Members.

For those Consolidated Claims that are being submitted for multiple TPP Class Members, the filer shall provide aggregate
information as directed in Sections C or D of this Claim Form, and submit along with this Claim Form a chart
identifying the TPP Class Members included in the Consolidated Claim, as directed in Section B. For each
TPP Class Member included in the Consolidated Claim, the chart shall provide: (i) the name of the TPP Class
Member claimant and (ii) the TPP Class Member’s Federal Tax Identification Number (FEIN).

The “TPP Methodology NDCs” and “TPP Methodology ICD Codes” necessary to complete Section C are available at
www.McKinseyTPPSettlement.com.

To qualify to receive a payment from the Settlement, you must complete and submit this Claim Form either on
paper or electronically on the Settlement website, www.McKinseyTPPSettlement.com, and you may need to provide
certain requested documentation to substantiate your Claim.

Your failure to complete and submit the Claim Form postmarked (if mailed) or received (if submitted online) on
or before December 15, 2024, will prevent you from receiving any payment from the Settlement. Submission of this
Claim Form does not ensure that you will share in the payments related to the Settlement. If the Notice and Claims
Administrator rejects or reduces your Claim, you may invoke the dispute resolution process described on page
6.




QUESTIONS? CALL 1-877-933-3322 OR VISIT WWW.MCKINSEYTPPSETTLEMENT.COM.                                    PAGE 1 OF 7
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                 In re: McKinsey & Co., Inc. National Prescription Opiate Consultant Litigation

                                  Case No. 21-md-02996-CRB (SK) (N.D. Cal.)
                 MUST BE POSTMARKED ON OR BEFORE, OR SUBMITTED ONLINE BY,
                                    DECEMBER 15, 2024.

                                 THIRD-PARTY PAYOR CLAIM FORM
                                         Use Blue or Black Ink Only
ATTENTION: THIS FORM IS ONLY TO BE FILLED OUT ON BEHALF OF A THIRD-PARTY PAYOR
(OR AN AUTHORIZED AGENT) AND NOT INDIVIDUAL CONSUMERS.


   Complete Section A only if you are filing as an individual TPP Class Member.
   Complete Section B only if you are an authorized agent filing on behalf of one or more TPP Class
    Members.

 Section A: Company or Health Plan TPP Class Member Only
TPP Class Member Name


Contact Name


Care of (if applicable)


Street Address                                                                          Floor/Suite


City                                                           State                    Zip Code


Area Code - Telephone Number                             Tax Identification Number


Email Address


List other names by which your company or health plan has been known or other Federal Employer Identification
Numbers ("FEINs") it has used since June 1, 2009.



       Health Insurance Company/HMO                 Self-Insured Employee Health or Pharmacy Benefit Plan
       Self-Insured Health & Welfare Fund
       Other (Explain)

 QUESTIONS? CALL 1-877-933-3322 OR VISIT WWW.MCKINSEYTPPSETTLEMENT.COM.                           PAGE 2 OF 7
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 Section B: Authorized Agent Only
As an authorized agent, please check how your relationship with the TPP Class Member(s) is best described (you
may be required to provide documentation demonstrating this relationship):

       Third-Party Administrator or Administrative Services Only Provider

       Pharmacy Benefit Manager

       Other (Explain):

Authorized Agent's Company Name


Contact Name



Street Address                                                                          Floor/Suite


City                                                          State                     Zip Code


Area Code - Telephone Number                              Authorized Agent's Tax Identification Number


Email Address


Please list the name and FEIN of every TPP Class Member (i.e., Company or Health Plan) for whom you are
submitting this Claim Form (attach additional sheets to this Claim Form as necessary). Alternatively, you may
submit the requested list of TPP Class Member names and FEINs in an electronic format, such as Excel or a tab-
delimited text file. Contact the Notice and Claims Administrator to determine what formats are acceptable. Claim
Forms submitted on behalf of two or more TPP Class Members are referred to as Consolidated Claims. In either
case, the list shall be maintained as confidential by the Notice and Claims Administrator.

TPP CLASS MEMBER’S NAME                                   TPP CLASS MEMBER’S FEIN




 QUESTIONS? CALL 1-877-933-3322 OR VISIT WWW.MCKINSEYTPPSETTLEMENT.COM.                          PAGE 3 OF 7
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   Section C: TPP Claims Methodology 1 - Transactional Claims Data Available
   TPP Class Members that are able to access pharmacy and medical transactional claims data from 2009 - 2023
   must utilize the methodology outlined in this Section C for purposes of completing this Claim Form.
   For the TPP Class Member(s) on whose behalf you are submitting this Claim Form, please provide the
   following information or utilize the forms for both individual and Consolidated Claims provided by the Notice
   and Claims Administrator at www.McKinseyTPPSettlement.com.
  i. By state, on an aggregated basis for entities filing Consolidated Claims, identify: the total dollar amount
     paid or reimbursed by the TPP Class Member(s) for the TPP Methodology NDCs from June 1, 2009, through
     October 31, 2023.
 ii. By state, on an aggregated basis for entities filing Consolidated Claims, identify the number of member-
     years with an opioid use disorder (OUD) diagnosis based on the TPP Methodology ICD Codes from
     June 1, 2009, through October 31, 2023. Member-years with OUD diagnosis is the sum of the number of
     unique individuals with an OUD diagnosis within each year, totaled for the fifteen years of the damage
     period. (For example, if you had 10 people per year with OUD in each year for 5 years, that would equal 50
     member-years with OUD diagnosis.)
 iii. By state, on an aggregated basis for entities filing Consolidated Claims, identify the number of Covered
      Lives* as of January 1, 2023.
 iv. The TPP Claim amounts for TPP Class Members that provide the information identified above in this Section
     C will be calculated as follows:
            a. The estimated medical cost of OUD ($19,118) will be multiplied by the number of member-years
               with OUD identified in Section C.ii.; and
            b. The dollar value provided in Section C.i. will be combined with the dollar value derived in Section
               C.iv.a.
*“Covered Lives” means the number of enrollees or beneficiaries covered by the TPP.

  What should I do if I have transactional data available for some years but not others?
  You must follow Methodology 1 outlined in Section C to complete the Claim Form for all the years for which
  you have transactional data available. You may use Methodology 2 outlined in Section D to complete the Claim
  Form for any remaining years for which you do not have transactional data available.
  Please note, if you use Methodology 2 to submit a Claim Form for years that you have or could obtain data for,
  your entire claim may be rejected.


                      Total Dollar Amount           Member-Years with           Covered Lives as of
State
                      Paid                          OUD Diagnosis               January 1, 2023




QUESTIONS? CALL 1-877-933-3322 OR VISIT WWW.MCKINSEYTPPSETTLEMENT.COM.                            PAGE 4 OF 7
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 Section D: TPP Claims Methodology 2 - Transactional Claims Data Unavailable

 A TPP Class Member that is unable to access pharmacy and medical transactional claims data from 2009 – 2023, as necessary to complete Section C above, should utilize the
 methodology outlined in this Section D for purposes of completing this Claim Form. TPP Class Members electing to utilize TPP Methodology 2 must attest below that they do
 not have access to the necessary transactional claims data for completing TPP Methodology 1.
 For each TPP Class Member on whose behalf you are submitting this Claim Form, and on an aggregated basis for entities filing Consolidated Claims, list the number of Covered
 Lives* for each year in the applicable group of states. Spreadsheet templates of this chart are also available on the Settlement website for both individual and Consolidated
 Claims, www.McKinseyTPPSettlement.com.
 The Notice and Claims Administrator may request documents or other information from you to support your response below regarding your membership.
 *“Covered Lives” means the number of enrollees or beneficiaries covered by the TPP.
                                                                                              Covered Lives


States                               2009        2010        2011      2012       2013      2014     2015   2016     2017     2018    2019    2020    2021    2022      2023

Group 1: AK, AZ, CA, CO, GA, HI,
ID, IL, MN, NV, NM, NY, SC, TX,
UT, VT, VA, WA, WY

Group 2: CT, IN, KS, LA, MD, MI,
MS, MT, NE, NH, NC, ND, OR,
SD, WI

Group 3: AL, AR, DE, DC, FL, IA,
KY, ME, MA, MO, NJ, OH, OK,
PA, RI, TN, WV

If you are unable to break down the number of covered lives by state, please complete the chart below with the number of covered lives by year. You may receive less than you
may have otherwise been eligible for in accordance with the Settlement Agreement.
                                                                                                   Covered Lives


 States                             2009        2010      2011      2012   2013      2014     2015      2016       2017     2018     2019    2020     2021     2022     2023

 All states


For TPP Class Members electing to utilize TPP Methodology 2: After all Claims have been filed, the Notice and Claims Administrator will calculate an average dollar value per
covered life, based on all TPP information accumulated from submissions pursuant to Section C. The Notice and Claims Administrator will apply this average dollar value to the
information provided above in this Section D.

                           QUESTIONS? CALL 1-877-933-3322 OR VISIT WWW.MCKINSEYTPPSETTLEMENT.COM.                                       PAGE 5 OF 7
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Section E: Proof of Payment and Disputes Regarding Claim Amounts
Please provide as much of the information requested above as possible. Pharmacy transaction data supporting claims
submitted pursuant to Section C above is mandatory for Section C.i. amounts of $300,000 or more, although the
Notice and Claims Administrator may also require pharmacy transaction data for claims of less than $300,000, so
keep related transaction data and any other claim documentation supporting your Claim (e.g., invoices) in case the
Notice and Claims Administrator requests it later. If the Section C.i. amount is less than $300,000, you should still
provide the pharmacy transaction data with your Claim submission if you can.

While not required to be submitted along with your initial Claim Form, please also retain all medical transaction
data supporting your Section C.ii. amounts in case the Notice and Claims Administrator requests it later.

If, after an audit of your Claim, the Notice and Claims Administrator still has questions about your Claim and you
have not provided sufficient substantiation of your Claim, the Notice and Claims Administrator may reject your
Claim.

If the Notice and Claims Administrator rejects or reduces your Claim and you believe the rejection or reduction is
in error, you may contact the Notice and Claims Administrator to request further review. If the dispute concerning
your Claim cannot be resolved by the Notice and Claims Administrator and Settlement Class Counsel, you may
request that the Court review your Claim.

Section F: Certification

 I/We have read and am/are familiar with the contents of the Instructions accompanying this Claim Form. I/We
 certify that the information I/we have set forth in the above Claim Form and in any documents attached by me/us
 are true, correct, and complete to the best of my/our knowledge. I/We certify that I/we, or the TPP Class
 Member(s) I/we represent:

     a. During the period June 1, 2009, to October 31, 2023, (i) paid and/or reimbursed for any or all of the opioid
        prescription drugs identified in the TPP Methodology NDCs (which were manufactured, marketed, sold,
        or distributed by the Opioid Marketing Enterprise Members (Purdue, Johnson & Johnson, Janssen,
        Cephalon, Endo, and Mallinckrodt)), for purposes other than resale, and/or (ii) paid or incurred costs for
        treatment related to the misuse, addiction, and/or overdose of opioid drugs, identified in the TPP
        Methodology ICD Codes, on behalf of individual beneficiaries, insureds, and/or members; and

     b. is not one of the following excluded parties: (1) all federal and state governmental entities, except for (a)
        private contractors of Federal Health Employee Benefits plans, (b) managed Medicaid plans, (c) plans
        operating under Medicare Part C and/or D, and (d) Taft Hartley plans; (2) all tribal entities; (3) local
        governmental entities and school districts, except for plans for self-insured local governmental entities
        that have not settled claims in MDL No. 2804; (4) Pharmacy Benefit Managers (PBMs); (5) consumers;
        and (6) fully-insured plans.

 I/We further certify I/we have provided all of the information requested above to the extent I/we have it.

 I/We further certify that to the extent I/we are submitting this Claim Form pursuant to Section D, TPP Claims
 Methodology 2, above, I/we do not reasonably have access to the transactional claims data necessary to complete and
 submit this Claim Form pursuant to Section C, TPP Methodology 1.

  To the extent I/we have been given authority to submit this Claim Form by one or more TPP Class Members on
  their behalf, and accordingly am/are submitting this Claim Form in the capacity of an authorized agent with
  authority to submit it, and to the extent I/we have been authorized to receive on behalf of the TPP Class
  Member(s) any and all amounts that may be allocated to them from the Settlement Fund, I/we certify that such

 QUESTIONS? CALL 1-877-933-3322 OR VISIT WWW.MCKINSEYTPPSETTLEMENT.COM.                               PAGE 6 OF 7
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 authority has been properly vested in me/us and that I/we will fulfill all duties I/we may owe the TPP Class
 Member(s). If amounts from the Net Settlement Fund are distributed to me/us and a TPP Class Member later
 claims that I/we did not have the authority to claim and/or receive such amounts on its behalf, I/we and/or my/our
 employer will hold the Class, Settlement Class Counsel, and the Notice and Claims Administrator harmless with
 respect to any claims made by the TPP Class Member.

 I/We hereby submit to the jurisdiction of the United States District Court for the Northern District of California
 for all purposes connected with this Claim Form, including resolution of disputes relating to this Claim Form.
 I/We acknowledge that any false information or representations contained herein may subject me/us to sanctions,
 including the possibility of criminal prosecution. I/We agree to supplement this Claim Form by furnishing
 documentary backup for the information provided herein, upon request of the Notice and Claims Administrator.

I certify that the above information supplied by the undersigned is true and correct to the best of my knowledge and
that this Claim Form was executed this ________ day of ____________________, 2024.

Signature                                                   Position/Title




Print Name                                                  Date




Mail the completed Claim Form to the address below, postmarked on or before December 15, 2024, or submit
the information online at the website below by that date:

                    McKinsey & Co., Inc. National Prescription Opiate Consultant Litigation
                                             c/o A.B. Data, Ltd.
                                              P.O. Box 173122
                                           Milwaukee, WI 53217
                                   Toll-Free Telephone: 1-877-933-3322
                              Website: www.McKinseyTPPSettlement.com

                                         REMINDER CHECKLIST:

    1. Please complete and sign the above Claim Form. Attach or upload any documentation supporting your
       claim.
    2. Keep a copy of your Claim Form and supporting documentation for your records.
    3. If you would also like acknowledgement of receipt of your Claim Form, please complete the form online
       or mail this form via Certified Mail, Return Receipt Requested.
    4. If you move and/or your name changes, please send your new address and/or your new name or contact
       information to the Notice and Claims Administrator at info@McKinseyTPPSettlement.com or via U.S.
       Mail at the address listed above.




 QUESTIONS? CALL 1-877-933-3322 OR VISIT WWW.MCKINSEYTPPSETTLEMENT.COM.                              PAGE 7 OF 7
